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 9   Attorneys For Plaintiff
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13
                                UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15

16   ZHARIA CHARLES, individually and on behalf   Case No.
     of all other persons similarly situated,
17

18                                Plaintiff,      CLASS ACTION COMPLAINT

19                  v.
                                                  JURY TRIAL DEMANDED
20   PEEK TRAVEL, INC.
21
                                  Defendant.
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     CLASS ACTION COMPLAINT
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 1          Plaintiff Zharia Charles (“Plaintiff”) brings this action on behalf of herself, and all others
 2   similarly situated against Peek Travel, Inc. (“Defendant” or “Peek”). Plaintiff makes the following
 3   allegations pursuant to the investigation of their counsel and based upon information and belief,
 4   except as to the allegations specifically pertaining to themselves, which are based on personal
 5   knowledge.
 6                                      NATURE OF THE ACTION
 7          1.      For over a year, Defendant has been nickel and diming visitors of its various places
 8   of entertainment in New York in violation of the New York Arts and Cultural Affairs Law §
 9   25.07(4) and New York General Business Law § 349. Defendant Peek is a software-as-a service
10   company that integrates and designs a platform to purchase tickets to various places of
11   entertainment located in New York, including the Color Factory NYC, the Museum of Ice Cream,
12   the Inter_Intermersive Art Museum, or the ARTECHOUSE.
13          2.      The purchase flow “powered by Peek.com” remains substantially the same across
14   all places of entertainment that use Peek’s ticket purchasing platform. Whenever a consumer
15   selects an admission ticket on the website of these various places, she is quoted a fee-less price,
16   only to be ambushed by non-delineated “fees” at checkout, after clicking through the various
17   screens required to make a purchase. The fees are masked under the ambiguous category “Taxes &
18   Fees,” and Peek does not provide a breakdown of how much fees go to itself as opposed to the
19   place of entertainment, nor does it explain what the fees are for.
20          3.      To make matters worse, the websites often include a countdown timer for the
21   consumer to complete the transaction. Because New York is a busy place, and because these
22   “taxes & fees” are only flashed after a consumer selects her ticket, Defendant can plausibly put its
23   consumers on a shot clock and tell them they need to act quick, because Defendant and these places
24   of entertainment cannot hold their admission time slot open forever. This cheap trick has enabled
25   Defendant to swindle substantial sums of money from its customers.
26          4.      To stop this hustle, New York passed Arts and Cultural Affairs Law § 25.07(4),
27   which provides that “every operator or every operator’s agent of a place of entertainment … or
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     CLASS ACTION COMPLAINT                                                                                  1
         Case 4:24-cv-04201-DMR Document 1 Filed 07/11/24 Page 3 of 33




 1   platform that facilitates the sale or resale of tickets … shall disclose the total cost of the ticket,
 2   inclusive of all ancillary fees that must be paid in order to purchase the ticket.” “Such disclosure of
 3   the total cost and fees shall be displayed in the ticket listing prior to the ticket being selected for
 4   purchase.” Id. (emphasis added). And “[t]he price of the ticket shall not increase during the
 5   purchase process.” Id. This latest version of the law went into effect August 29, 2022. See
 6   Exhibit A.
 7           5.      Moreover, Arts and Cultural Affairs Law § 25.07(4) provides that “every
 8   operator … of a place of entertainment … shall disclose in a clear and conspicuous manner the
 9   portion of the ticket price stated in dollars that represents a service charge, or any other fee or
10   surcharge to the purchaser.” Id.
11           6.      For these reasons, Plaintiff seeks relief in this action individually, and on behalf of
12   all other ticket purchasers for all places of entertainment in the state of New York that use
13   Defendant’s ticket purchase platform, for actual and/or statutory damages, reasonable attorneys’
14   costs and fees, and injunctive relief under New York Arts and Cultural Affairs Law § 25.33 and
15   New York General Business Law § 349.
16                                      JURISDICTION AND VENUE
17           7.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
18   1332(d) because there are more than 100 class members, and the aggregate amount in controversy
19   exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least one class member is a
20   citizen of a state different from Defendant. Defendant sold at least 100,000 tickets to its place of
21   entertainment through its website during the applicable class period, and is liable for a minimum of
22   fifty dollars in statutory damages for each ticket sold.
23           8.      This Court has personal jurisdiction over Defendant because Defendant is
24   headquartered in San Francisco, California.
25           9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant’s
26   Color Factory NYC is located in this District.
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     CLASS ACTION COMPLAINT                                                                                    2
         Case 4:24-cv-04201-DMR Document 1 Filed 07/11/24 Page 4 of 33




 1                                               PARTIES
 2          10.     Plaintiff Zharia Charles is an individual consumer who, at all times material hereto,
 3   was a citizen and resident of Brooklyn, New York. Plaintiff purchased two admission tickets to
 4   Color Factory NYC on October 29, 2023 through the website, https://www.colorfactory.co/. This
 5   website used Defendant’s platform and Plaintiff Charles paid fees to Defendant. The transaction
 6   flow process she viewed on the website was substantially similar as that depicted in Figures 1
 7   through 6 in this complaint.
 8          11.     Defendant Peek Travel, Inc. is a Delaware corporation with its principal place of
 9   business in San Francisco, California.
10                              RELEVANT FACTUAL ALLEGATIONS
11          Peek’s Ticket Purchase Platform on the Color Factory NYC Website
12          12.     When a person visits the website, https://www.colorfactory.co/, on the main page,
13   she can click the multi-colored “BUY TICKETS” button to select admission tickets to visit Color
14   Factory NYC on various dates. See Figure 1, next page.
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     CLASS ACTION COMPLAINT                                                                                 3
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                                                    Figure 1
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20          13.     After a consumer selects the “BUY TICKETS” button, she is taken to a screen
21   which provides a list of various museum admission dates, times, and prices. See Figure 2, next
22   page. The “total cost” of any ticket, inclusive of fees, is not shown on this screen, in violation of
23   New York Arts & Cultural Affairs Law § 25.07(4). Id. A ticket for admission at 11:45 a.m. on
24   January 11, 2024 was quoted at “$41.00.” Id.
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     CLASS ACTION COMPLAINT                                                                                  4
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21                                                Figure 2

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            14.     After a consumer clicks on the date and time of the ticket she wishes to purchase, a
23
     banner displays on the bottom of the page re-displaying the same “$41.00” price, again failing to
24
     disclose ancillary fees, with a blue “Book Now” button. See Figure 3, next page.
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     CLASS ACTION COMPLAINT                                                                                5
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                                                  Figure 3
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22          15.    After a consumer clicks the “Book Now” button, she is taken to a screen re-
23   displaying the same “$41.00” price, again excluding ancillary fees, and requiring that the consumer
24   input her name, phone number, and email address to continue the purchase process. See Figure 4,
25   next page. This screen states that it is “powered by Peek.com,” which is operated by the Defendant.
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     CLASS ACTION COMPLAINT                                                                            6
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                                                  Figure 4
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15          16.     Once a consumer inputs her name, phone number, and email address, another

16   banner appears requiring the customer to answer two questions before clicking a yellow

17   “Continue” button. See Figure 5, next page. Again, the same “$41.00” price is displayed,

18   excluding ancillary fees. Id. This screen states that it is “powered by Peek.com,” which is

19   operated by the Defendant.

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     CLASS ACTION COMPLAINT                                                                        7
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20                                                Figure 5
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            17.     After the consumer clicks on the “Continue” button, a final checkout screen
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     emerges, which requires the user to input her payment information, all while an 8-minute clock is
23
     ticking down. See Figure 6, next page. On the right-side of the same screen, the “TOTAL” ticket
24
     price is displayed, which, for admission at 11:45 a.m. on January 11, 2024, included an additional
25
     $8.99 of “Taxes & Fees.” Id. This is the first time the screen makes mention of additional “fees.”
26
     This screen states it is “powered by Peek.com,” which is operated by the Defendant.
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     CLASS ACTION COMPLAINT                                                                               8
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                                                   Figure 6
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17          18.     As displayed in Figure 6, Defendant does not delineate how much of the additional

18   $8.99 is allocated to taxes versus fees. Id. That information is never made available to the

19   consumer, even after she completes the checkout process and purchases a ticket.

20          19.     Assuming Defendant levies the correct 8.875% New York City sales and use tax1,

21   the price in Figure 6 represents approximately $5.36 in ancillary fees.

22          20.     Because this screen is “Powered by Peek.com,” Defendant collects the funds from

23   the consumer directly, and thereafter disburses it to Color Factory, LLC the operator of the Color

24   Factory NYC.

25   Peek’s Ticket Purchase Platform on the Museum of Ice Cream NYC Website

26
     1
27    https://www.nyc.gov/site/finance/business/business-nys-sales-tax.page (last visited Jan. 12,
     2024).
28

     CLASS ACTION COMPLAINT                                                                               9
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 1          21.     When a person visits the website, www.museumoficecream.com, on the main page,
 2   she can click the red “Reserve Tickets” button to select admission tickets to visit Defendant’s
 3   Museum of Ice Cream in New York City on various dates. See Figure 7.
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16                                                 Figure 7
17
            22.     After a consumer selects the “RESERVE VIP TICKETS” or the “RESERVE
18
     GENERAL ADMISSION TICKETS” button, she is taken to a screen which provides a list of
19
     various museum admission dates, times, and ticket prices. The screen purports to provide the total
20
     cost of the ticket, listing a dollar amount under the time the consumer selects. See Figure 8, next
21
     page. However, the real “total cost” of any ticket, inclusive of fees, is not shown on this screen, in
22
     violation of New York Arts & Cultural Affairs Law § 25.07(4). Id. This screen states it is
23
     “powered by Peek.com,” which is operated by the Defendant.
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     CLASS ACTION COMPLAINT                                                                                10
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20                                                 Figure 8

21
            23.     After a consumer clicks on the “Book Now” button in Figure 8, she is taken to
22
     another page which displays the date and time that she selected to visit the museum, as well as the
23
     cost of the ticket. See Figure 9-A, next page. The page also requests the consumer put in her
24
     personal and contact information. Id. The total cost of the ticket is also not displayed on this page.
25
     Id. This screen states it is “powered by Peek.com,” which is operated by the Defendant.
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     CLASS ACTION COMPLAINT                                                                              11
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                                                  Figure 9-A
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            24.     Only if the consumer clicks on or hovers over the small red “i” icon on the page,
18
     does the website inform her that “the displayed ticket price is pre-ticketing fees.” See Figure 9-B,
19

20   next page. Even still, it does not tell her how much those ticketing fees are. Id. This screen states

21   it is “powered by Peek.com,” which is operated by the Defendant.
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     CLASS ACTION COMPLAINT                                                                              12
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17                                                    Figure 9-B

18
            25.     After a consumer inputs her personal and contact information, she is prompted with
19
     a set of boxes to check regarding marketing communications and Terms and Conditions. See
20
     Figure 10, next page. Again, the total cost of the ticket is not displayed on this page either. Id.
21
     This screen states it is “powered by Peek.com,” which is operated by the Defendant. For January
22
     24, 2024 at 4:00 PM, the price of a “General Admission” ticket is displayed as “$42.00 per
23
     person.” Id.
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     CLASS ACTION COMPLAINT                                                                                13
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                                                  Figure 10
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22          26.     After checking those boxes, the consumer may click “Continue.” Id. Once the

23   consumer clicks “Continue,” she is taken to a screen offering her the ability to purchase additional

24   products along with her admission ticket. See Figures 11-A & 11-B, next page. This screen states

25   it is “powered by Peek.com,” which is operated by the Defendant.

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     CLASS ACTION COMPLAINT                                                                             14
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                                     Figure 11-A
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     CLASS ACTION COMPLAINT                                             15
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21                                                Figure 11-B
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            27.     Once a consumer clicks on the “Continue” button again, a final checkout screen
23
     emerges, which requires the user to input her payment information. See Figure 12, next page. On
24
     the right-side of the same screen, the “Total” ticket price is finally displayed, which includes
25
     $13.23 of “Taxes & Fees.” Id. This is the first time Defendant makes explicit mention of
26
     additional “fees.” This screen states it is “powered by Peek.com,” which is operated by the
27
     Defendant.
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     CLASS ACTION COMPLAINT                                                                             16
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                                                  Figure 12
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            28.     As displayed in Figure 12, Defendant does not delineate how much of the additional
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15   $13.23 is allocated to taxes versus fees. Id. Only if a consumer clicks on or hovers over the

16   question mark icon next to “Taxes & Fees” does the webpage disclose a “Service Fee” of “$9.50.”
17   See Figure 13, next page.
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     CLASS ACTION COMPLAINT                                                                          17
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                                                  Figure 13
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14          29.     This is the first and only time that Defendant’s $9.50 per ticket “Service Fee” is
15   displayed to the consumer. Id. This screen states it is “powered by Peek.com,” which is operated
16   by the Defendant. Worse yet, Defendant does not disclose whether how much of the fee goes to
17   the operator of the place of entertainment as opposed to the Defendant. And to make matters worse,
18   a consumer can complete the final checkout page without ever clicking on the question mark icon
19   to be shown Defendant’s $9.50 per ticket service fee. Compare Figure 12 with Figure 13.
20   Peek’s Ticket Purchase Platform on the Inter Intermersive Art Museum Website
21          30.     When a person visits the website, https://www.interiam.co/, on the main page, she
22   can click the purple “Book Tickets” button to select admission tickets to visit Defendant’s
23   Inter_Intermersive Art Museum in New York City on various dates. See Figure 14, next page.
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     CLASS ACTION COMPLAINT                                                                              18
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10                                               Figure 14

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            31.    After a consumer selects the “BOOK TICKETS” button, she is taken to a screen,
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     which provides a list of various museum admission types, dates, and times. No ticket prices are
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     shown to a consumer at this stage. See Figure 15, next page. This screen states it is “powered by
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     Peek.com,” which is operated by the Defendant.
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     CLASS ACTION COMPLAINT                                                                              19
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                                                   Figure 15
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22          32.     After a consumer clicks on the “Book Now” button in Figure 15, she is taken to
23   another page, which displays the date and time that she selected to visit the museum, as well as the
24   cost of the ticket. See Figure 16, next page. The page also requests the consumer put in her
25   personal and contact information. Id. The total cost of the ticket is also not displayed on this page.
26   Id. This screen states it is “powered by Peek.com,” which is operated by the Defendant.
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     CLASS ACTION COMPLAINT                                                                              20
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20                                                 Figure 16
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            33.     After a consumer inputs her information, she is prompted with a set of boxes to
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     check regarding the operator of the place of entertainment’s refund policy and Terms and
23
     Conditions. The actual total cost of the ticket is not displayed on this page. This screen states it is
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     “powered by Peek.com,” which is operated by the Defendant.
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     CLASS ACTION COMPLAINT                                                                                21
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18                                                     Figure 17

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            34.     Only after completing this page is a consumer taken to the final checkout screen
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     where she becomes aware that the displayed ticket price is different than the actual total cost of the
21
     ticket. See Figure 17. This screen requires the consumer to input her payment information. Id.
22
     This screen states it is “powered by Peek.com,” which is operated by the Defendant. On the right
23
     side of the screen, the “Total” ticket price is finally displayed, which includes $8.05 of “Taxes and
24
     Fees.” Id. The cost of the ticket jumps from $39.95 (price for adults) to $48.00. This is the first
25
     time Defendant makes explicit mention of additional “fees.” Id.
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     CLASS ACTION COMPLAINT                                                                                22
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            35.     As displayed in Figure 17, Defendant does not delineate how much of the additional
 1

 2   $8.05 is allocated to taxes versus fees. Id. Only if a consumer clicks on or hovers over the

 3   question mark icon next to “Taxes & Fees” does the webpage disclose a “Convenience Fee” of
 4   “$4.50.” See Figure 18.
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25                                                Figure 18

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     CLASS ACTION COMPLAINT                                                                         23
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 1           36.     This is the first and only time that Defendant’s $4.50 per ticket “Convenience Fee”
 2   is displayed to the consumer. Id. This screen states it is “powered by Peek.com,” which is
 3   operated by the Defendant. Worse yet, Defendant does not disclose whether how much of the fee
 4   goes to the operator of the place of entertainment as opposed to the Defendant. And to make
 5   matters worse, a consumer can complete the final checkout page without ever clicking on the
 6   question mark icon to be shown Defendant’s $4.50 per ticket convenience fee. Compare Figure 17
 7   with Figure 18.
 8                          NEW YORK ARTS & CULTURAL AFFAIRS LAW
 9           37.     Effective August 29, 2022, New York enacted Arts & Cultural Affairs Law §
10   25.07(4), which provides that “[e]very operator or operator’s agent of a place of entertainment… or
11   platform that facilitates the sale or resale of tickets shall disclose the total cost of the ticket,
12   inclusive of all ancillary fees that must be paid in order to purchase the ticket, and disclose in a
13   clear and conspicuous manner the portion of the ticket price stated in dollars that represents a
14   service charge, or any other fee or surcharge to the purchaser. Such disclosure of the total cost and
15   fees shall be displayed in the ticket listing prior to the ticket being selected for purchase.” Id.
16   (emphasis added). And “[t]he price of the ticket shall not increase during the purchase process.”
17   Id.; Compare with Figures 2 through 6, Figures 8 through 13, and Figures 15 through 18.
18           38.     Shortly after the law was enacted, ticketing websites peppered the State of New
19   York’s Division of Licensing Services with questions about the scope of the law. As explained by
20   the Division of Licensing Services, “the ticket purchasing process begins once a consumer visits a
21   ticket marketplace and first sees a list of seat prices.” See N.Y. Dep’t of State, Div. Licens. Servs.,
22   Request for Additional Guidance – New York State Senate Bill S.9461, attached hereto as Exhibit
23   A, at 1. “From the moment the prospective purchaser assesses the [] ticket lists through the final
24   payment … there should be no price increases to the purchaser for the ticket itself.” Id. “When a
25   prospective purchaser selects a ticket with full disclosure of the ticket price, the purchaser should
26   not then have to search for the total price of the ticket as the purchaser proceeds through the
27   purchasing process, it should continue to be readily available to the purchaser.” Id. at 2 (emphasis
28

     CLASS ACTION COMPLAINT                                                                                  24
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 1   added). “In short, the ticket listing must include the total cost of the ticket, with a breakdown of all
 2   service charges, fees and surcharges, that the purchaser must pay just to purchase the ticket.” Id.
 3   (emphasis added).
 4                                   CLASS ACTION ALLEGATIONS
 5

 6          39.     Nationwide Class: Plaintiff seeks to represent a class defined as all individuals in
 7   the United States who purchased tickets to places of entertainment in located New York state
 8   which used screens which were “powered by Peek.com” or otherwise created in part by Defendant
 9   on or after August 29, 2022. Excluded from the Nationwide Class is any entity in which Defendant
10   has a controlling interest, and officers or directors of Defendant.
11          40.     New York Subclass: Plaintiff seeks to represent a class defined as all individuals
12   in New York who purchased tickets to who purchased tickets to places of entertainment in located
13   New York state which used screens which were “powered by Peek.com” or otherwise created in
14   part by Defendant on or after August 29, 2022. Excluded from the Nationwide Class is any entity
15   in which Defendant has a controlling interest, and officers or directors of Defendant.
16          41.     Members of the Nationwide Class and New York Subclass are so numerous that
17   their individual joinder herein is impracticable. On information and belief, members of the
18   Nationwide Class and New York Subclass are at least in the hundreds of thousands. The precise
19   number of Nationwide Class and New York Subclass members and their identities are unknown to
20   Plaintiff at this time but may be determined through discovery. Nationwide Class and New York
21   Subclass members may be notified of the pendency of this action by mail, email, and/or publication
22   through the distribution records of Defendant.
23          42.     Common questions of law and fact exist as to all Nationwide Class and New York
24   Subclass members and predominate over questions affecting only individual Nationwide Class and
25   New York Subclass members. Common legal and factual questions include, but are not limited to:
26   (a) whether Defendant failed to disclose the total cost of the ticket, including all ancillary fees,
27   prior to the tickets being selected for purchase in violation of New York Arts & Cultural Affairs
28

     CLASS ACTION COMPLAINT                                                                                 25
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 1   Law § 25.07(4); (b) whether the displayed price of Defendant’s tickets increases during the
 2   purchase process in violation of New York Arts & Cultural Affairs Law § 25.07(4); (c) whether
 3   Defendant failed to disclose its ancillary fees in a clear and conspicuous manner in violation of
 4   New York Arts & Cultural Affairs Law § 25.07(4); (d) whether Defendant’s labeling of various
 5   fees under the label “Taxes & Fees” is misleading and violates the New York General Business
 6   Law § 349.
 7          43.     The claims of the named Plaintiff are typical of the claims of the Nationwide Class
 8   and New York Subclass in that the named Plaintiff and the Nationwide Class and New York
 9   Subclass sustained damages as a result of Defendant’s uniform wrongful conduct, based upon
10   Defendant’s failure to disclose the total cost of its tickets, including Defendant’s ancillary fees,
11   throughout the online ticket purchase process.
12          44.     Plaintiff is an adequate representative of the Nationwide Class and New York
13   Subclass because her interests do not conflict with the interests of the Nationwide Class and New
14   York Subclass members she seeks to represent, she have retained competent counsel experienced
15   in prosecuting class actions, and she intends to prosecute this action vigorously. The interests of
16   Nationwide Class and New York Subclass members will be fairly and adequately protected by
17   Plaintiff and her counsel.
18          45.     The class mechanism is superior to other available means for the fair and efficient
19   adjudication of the claims of Nationwide Class and New York Subclass members. Each individual
20   Nationwide Class and New York Subclass member may lack the resources to undergo the burden
21   and expense of individual prosecution of the complex and extensive litigation necessary to
22   establish Defendant’s liability. Individualized litigation increases the delay and expense to all
23   parties and multiplies the burden on the judicial system presented by the complex legal and factual
24   issues of this case. Individualized litigation also presents a potential for inconsistent or
25   contradictory judgments. In contrast, the class action device presents far fewer management
26   difficulties and provides the benefits of single adjudication, economy of scale, and comprehensive
27   supervision by a single court on the issue of Defendant’s liability. Class treatment of the liability
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     CLASS ACTION COMPLAINT                                                                                  26
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 1   issues will ensure that all claims and claimants are before this Court for consistent adjudication of
 2   the liability issues.
                                                COUNT I
 3
                              New York Arts & Cultural Affairs Law § 25.07
 4                      (On Behalf Of The Nationwide Class and New York Subclass)

 5
             46.     Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully set
 6
     forth herein.
 7
             47.     Plaintiff brings this claim individually and on behalf of the members of the
 8
     Nationwide Class and New York Subclass against Defendant.
 9
             48.     Defendant is an “operator’s agent of a place of entertainment” because Defendant
10
     works on the behest of operators of places of entertainment, including but not limited to, Color
11
     Factory, LLC (which operates the Color Factory NYC), 1AND8, Inc. (which operates the Museum
12
     of Ice Cream NYC), Inter_Iam, Inc. (which operates Inter_Intermersive Art Museum), and ATH
13
     NY CM LLC (which operates the ARTECHOUSE NYC).
14
             49.     Defendant is an “Platform that facilitates the sale or resale of tickets ” because
15
     Defendant provides the website screens through which consumers to various places of
16
     entertainment sell tickets, as shown in the examples in the complaint.
17
             50.     Color Factory NYC is a “place of entertainment.” “‘Place of entertainment’ means
18
     any privately or publicly owned and operated entertainment facility such as a theatre, stadium,
19
     arena, racetrack, museum, amusement park, or other place where performances, concerts, exhibits,
20
     athletic games or contests are held for which an entry fee is charged.” N.Y. Arts & Cult. Aff. Law
21
     § 25.03(6) (emphasis added).
22
             51.     The Museum of Ice Cream NYC is a “place of entertainment.” “‘Place of
23
     entertainment’ means any privately or publicly owned and operated entertainment facility such as a
24
     theatre, stadium, arena, racetrack, museum, amusement park, or other place where performances,
25
     concerts, exhibits, athletic games or contests are held for which an entry fee is charged.” N.Y.
26
     Arts & Cult. Aff. Law § 25.03(6) (emphasis added).
27

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     CLASS ACTION COMPLAINT                                                                                27
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 1           52.     Inter_Intermersive Art Museum is a “place of entertainment.” “‘Place of
 2   entertainment’ means any privately or publicly owned and operated entertainment facility such as a
 3   theatre, stadium, arena, racetrack, museum, amusement park, or other place where performances,
 4   concerts, exhibits, athletic games or contests are held for which an entry fee is charged.” N.Y.
 5   Arts & Cult. Aff. Law § 25.03(6) (emphasis added).
 6           53.     ARTECHOUSE is a “place of entertainment.” “‘Place of entertainment’ means any
 7   privately or publicly owned and operated entertainment facility such as a theatre, stadium, arena,
 8   racetrack, museum, amusement park, or other place where performances, concerts, exhibits,
 9   athletic games or contests are held for which an entry fee is charged.” N.Y. Arts & Cult. Aff. Law
10   § 25.03(6) (emphasis added).
11           54.     Defendant violated New York Arts & Cultural Affairs Law § 25.07(4) by failing to
12   disclose the “total cost of a ticket, inclusive of all ancillary fees that must be paid in order to
13   purchase the ticket” after a ticket is selected, as depicted in Figures 2 through 6, Figures 8 through
14   13, and Figures 15 through 18 of this Complaint.
15           55.     Defendant also violated New York Arts & Cultural Affairs Law § 25.07(4) by
16   increasing the total cost of its tickets during the purchase process, as depicted in Figures 2 through
17   6, Figures 8 through 13, and Figures 15 through 18 of this Complaint.
18           56.     Defendant also violated New York Arts & Cultural Affairs Law § 25.07(4) by
19   failing to “disclose in a clear and conspicuous manner the portion of the ticket price stated in
20   dollars that represents a service charge, or any other fee or surcharge to the purchaser,” as depicted
21   in Figures 6, 13, and 18 of this Complaint.
22           57.     Everything above 8.875% of the ticket price of Defendant’s “Taxes & Fees” is an
23   “ancillary fee[] that must be paid in order to purchase the ticket.” N.Y. Arts & Cult. Aff. Law §
24   25.07(4).
25           58.     On or about October 29, 2023, Plaintiff Charles purchased two admission tickets to
26   the Color Factory NYC and was forced to pay ancillary fees to Defendant. The fees were
27

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     CLASS ACTION COMPLAINT                                                                                28
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 1   displayed as “Taxes and Fees.” Assuming Defendant levied an 8.875% sales and use tax, Plaintiff
 2   paid fees of approximately $11.38.
 3          59.      Plaintiff was harmed by paying these unlawful fees. These fees were unlawful
 4   because the total cost was not disclosed to Plaintiff at the beginning of the purchase process, in
 5   violation of New York Arts & Cultural Affairs Law § 25.07(4), the fees were not clearly and
 6   conspicuously disclosed on the final checkout page in violation of New York Arts & Cultural
 7   Affairs Law § 25.07(4), and the fees were unreasonable premiums under New York Arts &
 8   Cultural Affairs Law § 25.29.
 9          60.     Plaintiff was also harmed by not having the total cost of her tickets disclosed
10   upfront at the start of the purchase process. By not knowing the total cost of her tickets before
11   Plaintiff selected their tickets for purchase from Defendant, Plaintiff could not shop around for
12   tickets from other sellers like Trip Advisor or Expedia, just to name a few. See, e.g.,
13   https://www.tripadvisor.com/Attraction_Review-g60763-d15325499-Reviews-Color_Factory-
14   New_York_City_New_York.html; https://www.expedia.com/things-to-do/color-factory-ticket-in-
15   app-audio-tour-delighting-your-five-senses.a45694902.activity-
16   details?location=Manhattan%2C%20New%20York%2C%20New%20York%2C%20United%20St
17   ates%20of%20America&startDate=2024-07-04&endDate=2024-07-18&rid=129440. As such,
18   Plaintiff had no way of knowing whether she was getting the best deal her money could buy. By
19   hiding its fees, Defendant was able to reduce price competition and cause consumer harm to
20   consumers like Plaintiff.
21          61.     At the time Plaintiff purchased her tickets, she was not aware that Defendant’s fees
22   were unlawful under the New York Arts & Cultural Affairs Law. She was not a “website tester”
23   browsing websites in search of legal violations. Plaintiff was instead browsing the websites
24   because she sincerely intended to purchase tickets to a place of entertainment, and she did, in fact,
25   purchase those tickets.
26

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     CLASS ACTION COMPLAINT                                                                               29
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 1           62.     On behalf of herself and members of the Nationwide Class and New York Subclass,
 2   Plaintiff seeks to recover her actual damages or fifty dollars, whichever is greater, and reasonable
 3   attorneys’ fees. See N.Y. Arts & Cult. Aff. Law § 25.33.
 4                                                COUNT II
                                   Violation of General Business Law § 349
 5                                 (On Behalf Of The New York Subclass)
 6           63.     Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully set
 7   forth herein.
 8           64.     Plaintiff brings this claim individually and on behalf of the members of the
 9   Nationwide Class and New York Subclass against Defendant.
10           65.     New York’s General Business Law § 349 prohibits deceptive acts or practices in the
11   conduct of any business, trade, or commerce.
12           66.     Defendant committed deceptive acts and practices by misleadingly and deceptively
13   obscuring the itemization of the extra charges it adds to its ticket prices, and masking its fees under
14   the category “Taxes & Fees.” On some websites, like that of the Color Factory, LLC, consumers
15   like Plaintiff Charles had no way of discovering how much went to taxes as opposed to fees. On
16   other websites, like that of the Museum of Ice Cream NYC or the Inter_Intermersive Art Museum,
17   consumers needed to click on the small “?” button to discover how much went to fees, and even
18   then, Defendant failed to disclosed how much it collected in fees as opposed to how much the
19   operator of the place of entertainment collected in fees.
20           67.     Defendant committed deceptive acts and practices by misleadingly and deceptively
21   hiding its “fees” under the label “Taxes & Fees.”
22           68.     Defendant’s deceptive acts and practices were directed at consumers.
23           69.     Defendant’s deceptive acts and practices are misleading in a material way because
24   they deliberately make the itemization of extra charges harder to find, and fundamentally
25   misrepresent the additional costs imposed by Defendant on museum goers by masking Defendant’s
26   “fees” as, in part, a tax on the ticket purchase.
27

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     CLASS ACTION COMPLAINT                                                                                 30
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 1          70.     As a direct and proximate result of Defendant’s false, misleading, and deceptive
 2   representations, Plaintiff and members of the Class and Subclass were injured in that they would
 3   not have purchased the tickets, or would have paid substantially less for them, but for Defendant’s
 4   obfuscation of the extra charges in an inconspicuous dropdown menu and its false and misleading
 5   representations that the extra charges included both fees and taxes.
 6          71.     On behalf of herself and the New York Subclass, Plaintiff seeks to recover her
 7   actual damages or fifty dollars per violation, whichever is greater, three times actual damages, and
 8   reasonable attorneys’ fees.
 9                                          PRAYER FOR RELIEF
10          WHEREFORE, Plaintiff, individually and on behalf of the members of the Nationwide
11   Class and New York Subclass, prays for judgment as follows:
12          (a)     For an order certifying the Classes under Rule 23 of the Federal Rules of Civil
13                  Procedure and naming Plaintiff as the representative of the Classes and Plaintiff’s
14                  attorneys as Class Counsel to represent the Classes;
15          (b)     For an order declaring that Defendant’s conduct violates the statutes referenced
16                  herein;
17          (c)     For an order finding in favor of Plaintiff and the Classes on all counts asserted
18                  herein;
19          (d)     For compensatory and statutory damages in amounts to be determined by the Court
20                  and/or jury;
21          (e)     For prejudgment interest on all amounts awarded;
22          (f)     For an order of restitution and all other forms of equitable monetary relief; and
23          (g)     For an order awarding Plaintiff and the Classes their reasonable attorneys’ fees and
24                  expenses and costs of suit.
25                                       JURY TRIAL DEMANDED
26          Plaintiff demands a trial by jury on all claims so triable.
27

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     CLASS ACTION COMPLAINT                                                                               31
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     Dated: July 11, 2024               BURSOR & FISHER, P.A.
 1

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     CLASS ACTION COMPLAINT                                                       32
